Case 24-12768-pmm                      Doc           Filed 02/13/25 Entered 02/13/25 18:20:39                             Desc Main
                                                     Document      Page 1 of 4
      Fill in this information to identify the case:

      Debtor 1      Joseph Rose, III

      Debtor 2
      (Spouse, if filing)

      United States Bankruptcy Court for the: Eastern District of Pennsylvania

      Case number 24-12768-pmm




 Official Form 410S2
 Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                                 12/16

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in
 the debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the
 bankruptcy filing that you assert are recoverable against the debtor or against the debtor's principal residence.

 File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.



    Name of creditor: HSBC Bank USA, National Association, as                     Court claim no. (if known): 3
    Trustee, for the registered holders of Nomura Home Equity
    Home Loan, Inc. Asset-Backed Certificates, Series 2007-2

  Last four digits of any number you use to
  identify the debtor’s account: 0146

  Does this notice supplement a prior notice of
  postpetition fees, expenses, and charges?
           No
           Yes. Date of the last notice:         /     _/


  Part 1: Itemize Postpetition Fees, Expenses, and Charges
  Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include
  any escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has
  previously approved an amount, indicate that approval in parentheses after the date the amount was incurred.


    Description                                                                        Dates incurred                                Amount

    1. Late charges                                                                                                        (1)   $ 0.00
    2. Non-sufficient funds (NSF) fees                                                                                     (2)   $ 0.00
    3. Attorney’s fees                                                     08/20/2024: Plan Review Fee @$250.00            (3)   $ 250.00
    4. Filing fees and court costs                                                                                         (4)   $ 0.00
                                                                       10/10/2024: Preparation/Filing of Proof of Claim
    5. Bankruptcy/Proof of claim fees                                                                                      (5)   $ 700.00
                                                                                      Fee @$700.00
    6. Appraisal/Broker’s price opinion fees                                                                               (6)   $ 0.00
    7. Property inspection fees                                                                                            (7)   $ 0.00
    8. Tax advances (non-escrow)                                                                                           (8)   $ 0.00
    9. Insurance advances (non-escrow)                                                                                     (9)   $ 0.00
  10. Property preservation expenses. Specify:                                                                            (10)   $ 0.00
  11. Other. Specify:                                                                                                     (11)   $ 0.00
  12. Other. Specify:                                                                                                     (12)   $ 0.00
  13. Other. Specify:                                                                                                     (13)   $ 0.00
  14. Other. Specify:                                                                                                     (14)   $ 0.00

  The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
  See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.
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Case 24-12768-pmm                         Doc       Filed 02/13/25 Entered 02/13/25 18:20:39                                       Desc Main
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    Debtor1    Joseph Rose, III                                           Case number (if known) 24-12768-pmm
               First Name           Middle Name      Last Name




    Part 2: Sign Here
    The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address
    and telephone number.

    Check the appropriate box.

      I am the creditor.
      I am the creditor’s authorized agent. (Attach copy of power of attorney, if any.)



    I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
    knowledge, information, and reasonable belief.

     /s/Ryan Starks
         Signature
                                                                                  Date 02/13/2025



    Print: Ryan Starks (330002)
           First Name           Middle Name          Last Name                    Title Attorney



    Company Brock & Scott, PLLC

    Address 3825 Forrestgate Dr.
              Number                     Street


              Winston-Salem, NC 27103
               City         State        ZIP Code


    Contact phone 844-856-6646                                                    Email P A B K R @ b r o c k a n d s c o t t . c o m




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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                     Reading Division


 IN RE:
 Joseph Rose, III                                        Case No. 24-12768-pmm
                                                         Chapter 13
 HSBC Bank USA, National Association, as
 Trustee, for the registered holders of Nomura Home
 Equity Home Loan, Inc. Asset-Backed Certificates,
 Series 2007-2,
         Movant

 vs.

 Joseph Rose, III ,
        Debtor




                                    CERTIFICATE OF SERVICE

        I, the undersigned, certify that on February 13, 2025, I did cause a true and correct copy of the
documents described below to be served on the parties listed on the mailing list exhibit, a copy of
which is attached and incorporated as if fully set forth herein, by the means indicated and to all parties
registered with the Clerk to receive electronic notice via the CM/ECF system:

      Notice of Postpetition Mortgage Fees, Expenses, and Charges


        I certify under penalty of perjury that the above document was sent using the mode of
service indicated.


Date: February 13, 2025
                                              /s/Ryan Starks
                                              Andrew Spivack, PA Bar No. 84439
                                              Matthew Fissel, PA Bar No. 314567
                                              Mario Hanyon, PA Bar No. 203993
                                              Ryan Starks, PA Bar No. 330002
                                              Jay Jones, PA Bar No. 86657
                                              Ryan Srnik, PA Bar No. 334854
                                              Attorney for Creditor
                                              BROCK & SCOTT, PLLC
                                              3825 Forrestgate Drive
                                              Winston Salem, NC 27103
                                              Telephone: (844) 856-6646
Case 24-12768-pmm          Doc     Filed 02/13/25 Entered 02/13/25 18:20:39 Desc Main
                                   Document       Page 4 of 4
                                             Facsimile: (704) 369-0760
                                             E-Mail: PABKR@brockandscott.com

______________________________________________________________________________

Mailing List Exhibit: (Check all that apply. If via e-mail, include e-mail address. Continue to the next
page if necessary.)

MICHAEL A. CIBIK, Debtor's Attorney
1500 Walnut Street
Suite 900
Philadelphia, PA 19102
help@cibiklaw.com
Debtor's Attorney
Via:    ☒ CM/ECF ☐ 1st Class Mail               ☐ Certified Mail        ☐ e-mail:
        ☐ Other:

SCOTT F WATERMAN [Chapter 13],
2901 St. Lawrence Ave.
Suite 100
Reading, PA 19606
Bankruptcy Trustee
Via:    ☒ CM/ECF ☐ 1st Class Mail               ☐ Certified Mail        ☐ e-mail:
        ☐ Other:

Office of United States Trustee
Robert N.C. Nix Federal Building
900 Market Street, Suite 320
Philadelphia, PA 19107
US Trustee
Via:    ☒ CM/ECF ☐ 1st Class Mail               ☐ Certified Mail        ☐ e-mail:
        ☐ Other:

Joseph Rose, III
3670 N Delaware Dr
Easton, PA 18040-7345
Debtor
Via:    ☐ CM/ECF ☒ 1st Class Mail               ☐ Certified Mail        ☐ e-mail:
        ☐ Other:
